                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                EASTERN DIVISION

    UNITED STATES OF AMERICA,

                  Plaintiff,                            No. 01-CR-2002-CJW-MAR

    vs.
                                                           MEMORANDUM
    ALTEDIAS MAURICE CAMPBELL,                           OPINION AND ORDER
                  Defendant.

                                ____________________________

                                     I.   INTRODUCTION
           This matter is before the Court on defendant’s motion for compassionate release
and for relief under Section 404 of the First Step Act (“FSA”) filed on June 29, 2020.
(Docs. 289 & 290). On July 6, 2020, the government timely filed a resistance. (Doc.
291). On July 13, 2020, defendant timely filed a reply. (Doc. 292). On October 23,
2020, defendant filed a supplement to his motion. (Doc. 293). For the following reasons,
the Court denies defendant’s motion.
           The Court will first address whether compassionate release is warranted before
considering relief under the FSA.
                               II.   RELEVANT BACKGROUND
           A.    Procedural History
           On February 10, 2000, an officer observed defendant sell cocaine from his car to
S.A. within 1,000 feet of an elementary school.1 (Doc. 200, at 5). S.A. was arrested
and, when asked who sold him the cocaine, identified “Gushie’s brother.” (Id.). One
of the officers recognized Gushie as a nickname for defendant’s brother. (Id.). Officers

1
  Defendant notes that S.A. “was working for the police” (Doc. 290, at 20), but the presentence
investigation report (“PSR”) appears to indicate that officers were conducting an undercover buy
from S.A. (Doc. 200, at 5).



          Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 1 of 18
located defendant’s car outside a nearby residence on Bratnober Street. (Id.). After
checking the license plate on the vehicle, officers determined the vehicle was registered
to defendant at a residence on Bratnober Street. (Id.). Shortly thereafter, defendant left
his residence and drove away in his vehicle. (Id.). Officers stopped the vehicle and
defendant consented to a search. (Id.). Officers did not recover any drugs, cash, or
other contraband from the vehicle. (Id.). On September 26, 2000, officers stopped
defendant’s vehicle for failure to use a turn signal. (Id., at 6). Officers detected the odor
of alcohol and subjected defendant to sobriety tests, which he failed. (Id.). Defendant
was arrested after the breathalyzer showed his blood alcohol content was .255. (Id.).
Upon searching defendant’s vehicle, officers recovered two baggies of cocaine under the
driver’s seat. (Id.). A total of $174, consisting of $10 and $20 bills, was recovered from
defendant’s person. (Id.). In total, this offense involved two grams of cocaine. (Id.).
         On January 12, 2001, a grand jury issued an Indictment charging defendant with
one count of possession with intent to distribute cocaine in violation of Title 21, United
States Code, Sections 841(a)(1) and 841(b)(1)(C).2 (Doc. 1); see also (Doc. 200, at 3).
On February 1, 2001, defendant pled not guilty and was detained. (Doc. 3). On May
2, 2001, defendant was found guilty after a jury trial. (Docs. 51 & 55). On May 9,
2001, defendant moved for, among other things, a new trial. (Doc. 59). On July 27,
2001, the Court sentenced defendant. (Doc. 79).3 The Court found defendant did not
qualify as a career offender because his prior burglary conviction was not a crime of
violence. (Doc. 200, at 3). Thus, defendant was in criminal history category VI with a
total offense level of 22, yielding an advisory guideline range of imprisonment of 84 to
105 months. (Id., at 3–4). The Court sentenced defendant to 104 months’ imprisonment
followed by four years on supervised release. (Doc. 80). That same day, the Court

2
    Documents entered prior to June 2003 are visible on the online docket but not accessible.
3
  The minute entry shows defendant was originally sentenced on July 27, 2001 (Doc. 79), but
his PSR states his original sentencing occurred on July 1, 2001 (Doc. 200, at 3). The exact date
is immaterial here.

                                                 2

       Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 2 of 18
denied defendant’s motion for a new trial. (Doc. 78). On August 2, 2001, defendant
appealed his conviction and sentence to the Eighth Circuit Court of Appeals. (Doc. 81).
       On June 5, 2002, defendant again moved for a new trial, this time based on newly
discovered evidence. (Doc. 90). After holding a hearing on defendant’s motion on
August 26, 2002 (Doc. 97), the Court granted the motion on December 23, 2002 (Doc.
99). On January 3, 2003, the government appealed the Court’s grant of a new trial.
(Doc. 100). On February 28, 2003, the Eighth Circuit Court of Appeals dismissed the
government’s appeal. (Doc. 106).
       On March 24, 2003, the Eighth Circuit Court of Appeals remanded this case back
to the district court for further proceedings. (Doc. 111).4 That same day, a grand jury
issued a Superseding Indictment charging defendant with the same offense as well as
distribution of cocaine within 1,000 feet of a school in violation of Sections 841(a)(1),
841(b)(1)(C), and 860. (Doc. 108); see also (Doc. 200, at 4). On April 17, 2003,
defendant pled not guilty and was detained. (Doc. 113). On June 6, 2003, defendant
was found guilty of both counts charged in the Superseding Indictment after a five-day
jury trial. (Docs. 167 & 173).
       On December 23, 2003, the Court again sentenced defendant.              (Doc. 211).
Defendant was in criminal history category VI with a total offense level of 34 after
receiving a career offender enhancement, yielding an advisory guideline range of 262 to
327 months imprisonment on both counts followed by effectively six years to life on
supervised release on both counts. (Doc. 200, at 43–44). The Court sentenced defendant
to 300 months’ imprisonment on Count 1 and 240 months’ imprisonment on Count 2 to
be served concurrently and six years’ supervised release on Count 1 and three years’
supervised release on Count 2 to be served concurrently. (Doc. 212). On December 29,




4
 The PSR states this case was remanded on March 6, 2003 (Doc. 200, at 4). Again, the precise
date is immaterial.

                                             3

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 3 of 18
2003, defendant timely appealed his conviction and sentence. (Doc. 213). On July 28,
2005, the Eighth Circuit Court of Appeals affirmed. (Doc. 226).
      On February 20, 2008, defendant filed a pro se motion to reduce his sentence.
(Doc. 231). On November 12, 2008, the Court found a reduction was not warranted.
(Doc. 233). On December 17, 2008, defendant appealed the Court’s ruling. (Doc. 235).
On January 8, 2009, the Eighth Circuit Court of Appeals dismissed the appeal due to lack
of jurisdiction. (Doc. 239). On February 23, 2009, defendant filed another pro se motion
to reduce his sentence. (Doc. 241). On February 24, 2009, the Court denied defendant’s
motion. (Doc. 242). On March 23, 2009, defendant moved for the Court to reconsider
its prior Order and moved for an evidentiary hearing. (Doc. 243). On March 24, 2009,
the Court denied both motions. (Doc. 245). On April 14, 2009, defendant appealed the
Court’s ruling. (Doc. 248). On May 8, 2009, the Eighth Circuit Court of Appeals
affirmed. (Doc. 253).
      On October 4, 2011, defendant filed a pro se motion to reduce his sentence. (Doc.
256). That same day, the Court denied the motion. (Doc. 257). On November 28,
2011, defendant appealed the Court’s ruling. (Doc. 258). On December 7, 2011, the
Eighth Circuit Court of Appeals dismissed the appeal as untimely. (Doc. 263). On
January 25, 2013, defendant filed a pro se motion to set aside the Judgment. (Doc. 267).
On January 28, 2013, the Court denied the motion. (Doc. 268). On February 11, 2013,
defendant filed a pro se motion to correct his sentence. (Doc. 269). On February 12,
2013, the Court denied the motion. (Doc. 270). On August 19, 2013, defendant filed a
pro se motion to be resentenced. (Doc. 273). On August 20, 2013, the Court denied the
motion. (Doc. 274). On November 20, 2014, defendant filed a pro se motion to reduce
his sentence. (Doc. 275). On June 19, 2015, the Court denied the motion. (Doc. 276).
      On February 14, 2019, defendant filed a pro se motion to reduce his sentence.
(Doc. 279). On April 6, 2020, defendant filed another pro se motion to reduce his
sentence. (Doc. 280). On April 13, 2020, the Court denied defendant’s second motion.
(Doc. 281). On June 8, 2020, defendant filed a third pro se motion to reduce his sentence.
                                            4

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 4 of 18
(Doc. 284). On June 15, 2020, the Court appointed defendant counsel. (Doc. 285). On
June 29, 2020, defendant filed his amended motion now before the Court. (Doc. 289).
Defendant, now nearly 47 years old, is currently incarcerated at Fairton FCI with a
projected release date of June 25, 2022.5
         B.     Defendant’s Personal History at Sentencing
         On September 25, 2003, the United States Probation Office (“USPO”) filed
defendant’s PSR for his second sentencing. (Doc. 200). Defendant was, at that time, 29
years old and residing in Waterloo, Iowa, where he was also born.            (Id., at 36).
Defendant was raised by his mother in an “extremely dysfunctional home” until age 7,
at which time he was removed and placed in various foster homes. (Id.). Defendant
maintained a “good relationship” with his father even though his father was incarcerated
for sexually abusing defendant’s sisters.         (Id.).   His home life was described as
impoverished, abusive, unstable, and dangerous. Defendant had many siblings, some of
whom were incarcerated and some of whom had died due to medical issues.6 Defendant
completed the requirements for a high school diploma at a training school and earned a
vocational training certificate. (Id., at 42). He was employed at a club for a year prior
to his arrest but had minimal work history beyond that. (Id., at 43–44). Defendant had
four purported children across three relationships, although he disputed the paternity of
two of them. (Id., at 37). Defendant was also married but requested a divorce. (Id.).
         Defendant was in “good health” and “denied any history of significant health
problems.” (Id., at 38). He had been hospitalized a few times as a child for various
accidents and once in 2000 for a gunshot wound to his heel after he was shot by his
former girlfriend. (Id.). In 1983, a doctor found defendant had attention deficit disorder.
(Id.). Testing suggested he had “organic brain damage,” which explained his impulsive,


5
    Find an Inmate, BOP, https://www.bop.gov/inmateloc/.
6
  This information is based on page 37 of the PSR, which is omitted from the online docket
filing. See (Doc. 200, at 36–37). The USPO recovered defendant’s full PSR from its archive.

                                              5

       Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 5 of 18
restless, and “extremely hostile” behavior. (Id.). In 1986, an evaluation noted his
behavioral issues were attributable to home and environmental factors. (Id., at 38–39).
Defendant was diagnosed with atypical conduct disorder and adjustment disorder with
mixed emotional features, characterized by depressive and anxious symptoms. (Id., at
39). Defendant was, at various times, sexually abused by a priest, a minister, and his
mother’s boyfriend. (Id., at 39–40). He was later diagnosed with depressive disorder,
anxiety disorder, obsessive compulsive disorder, and antisocial personality traits. Later
tests performed while defendant was incarcerated in 1994 and 1995 found he was
cooperative, positive, warm, easygoing, energetic, contented, and had “a strong sense of
self worth.” (Id., at 40–41). Tests inconsistently found defendant had normal to low
intellectual capacity. (Id., at 38–41). He reported normal use of alcohol. (Id., at 41).
Defendant had little interest in drugs until discovering he could mix marijuana and
cocaine in recent years, at which point he began using the combination regularly. (Id.).
      Defendant had an extensive and violent criminal history. From ages 8 to 15, he
was convicted various low-level thefts and burglaries as well as a robbery. (Id., at 12–
16). At age 16, defendant was convicted of burglary, theft, assault, and disorderly
conduct for, among other things, entering multiple residences and striking some of their
occupants. (Id., at 16–17). At age 18, he was convicted of aggravated criminal mischief
and assault after he beat a man with a tailpipe, was arrested and presumably released,
and then threw a sizable rock at that same man just over an hour later. (Id., at 18).
Defendant was convicted of criminal mischief again a few months later for destroying a
clock and a door when he became upset during a basketball game. (Id., at 20). At age
19, defendant was convicted of burglary, assault, and criminal mischief after destroying
the exterior of his fiancée’s car and attempting to pull her out of the broken passenger-
side window. (Id., at 21–22). A few months later, he was convicted of assaulting another
woman. (Id., at 25). A month after that, defendant was convicted of assaulting his
girlfriend after he pulled her to the ground by her hair and threatened her and her
children. (Id., at 26). Officers had to physically restrain defendant and use pepper spray
                                            6

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 6 of 18
to end his assault. (Id.). A few months later, defendant was convicted of assault causing
bodily injury after defendant and others destroyed a car with concrete blocks and crow
bars, attacked a man causing injuries to his face, and hit a woman in the head with a
piece of concrete. (Id., at 27–28). Still at the age of 19, he was convicted of conspiracy
to commit robbery after he assisted his brother in robbing an elderly man of $36 at
gunpoint.   (Id., at 28).       For this offense, defendant was sentenced to 10 years’
imprisonment, but was released after serving five and a half years. (Id.). From ages 18
to 19, his probation was revoked nearly every time he was on it for a litany of violations
and he was also convicted of driving on a suspended license eight times, interference with
official acts, open container, and using alcohol underage. (Id., at 21–28).
       Following his release from prison, from ages 24 to 26, defendant was convicted
of absence from a required place after signing out of a residential reentry center and
failing to return, interference with official acts after running from officers, consuming
alcohol in a public place, and disorderly conduct twice. (Id., at 28–29). Defendant was
also convicted of violating a no contact order which appeared to involve violence or at
least the threat of violence against a woman. (Id., at 30–31).
                         III.     COMPASSIONATE RELEASE
       A.     Applicable Law
       A court’s ability to modify a sentence after it has been imposed is limited. Title
18, United States Code, Section 3582(c)(1)(A) allows a court to modify a sentence
through “compassionate release.”        A defendant may directly petition the court for
compassionate release “after the defendant has fully exhausted all administrative rights
to appeal a failure of the [Bureau of Prisons (“BOP”)] to bring a motion on the
defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden
of the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). Although
some courts disagree, this Court holds that defendants are not required to administratively
appeal a warden’s denial and may satisfy Section 3582(c)(1)(A) by waiting 30 days from
the date the warden receives their request before filing a motion for compassionate release
                                             7

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 7 of 18
in the courts. United States v. Burnside, 467 F. Supp. 3d 659, 667 (N.D. Iowa 2020)
(compiling cases).
       The court may only reduce the defendant’s sentence, however, after considering
the factors set forth in Title 18, United States Code, Section 3553(a) to the extent they
are applicable, and finding that:
       (i) extraordinary and compelling reasons warrant such a reduction; or
       (ii) the defendant is at least 70 years of age, has served at least 30 years in
       prison, pursuant to a sentence imposed under section 3559(c), for the
       offense or offenses for which the defendant is currently imprisoned, and a
       determination has been made by the Director of the [Bureau of Prisons] that
       the defendant is not a danger to the safety of any other person or the
       community, as provided under section 3142(g);
       and that such a reduction is consistent with applicable policy statements
       issued by the Sentencing Commission[.]
18 U.S.C. § 3582(c)(1)(A). Defendants bear the burden of establishing eligibility for a
sentence reduction. United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016).
       United States Sentencing Guidelines (“USSG”) Section 1B1.13 defines
“extraordinary and compelling reasons” as used in Section 3582(c)(1)(A)(i). Section
1B1.13 provides that such reasons exist when the defendant is (1) suffering from a
terminal illness; (2) suffering from a serious physical or medical condition, a functional
or cognitive impairment, or physical or mental deterioration due to aging which
substantially diminishes the defendant’s ability to care for themselves within the facility
and from which the defendant is not expected to recover; (3) at least 65 years old,
experiencing serious deterioration due to age, and has served at least 10 years or 75
percent of their sentence; (4) experiencing a change in family circumstances, namely the
death or incapacitation of the caregiver of the defendant’s minor child or the
incapacitation of the defendant’s spouse who now requires the defendant’s care; or (5) is
experiencing some other extraordinary and compelling reason as determined by the BOP.
Although some courts disagree, this Court holds that Section 1B1.13 is not binding
because it predates the First Step Act of 2018’s amendments to Section 3582(c)(1)(A)

                                             8

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 8 of 18
which enabled defendants to bring motions for compassionate release on their own behalf.
United States v. Crandall, No. 89-CR-21-CJW-MAR, 2020 WL 7080309, at *5 (N.D.
Iowa Dec. 3, 2020). The Court recognizes, however, that Section 1B1.13 should still be
considered a helpful guidepost in determining whether extraordinary and compelling
reasons exist to release a defendant. Id.
         B.     Analysis
                1.    Exhaustion of Administrative Remedies
         In early April 2020, defendant states that he submitted a request for release to the
warden of his facility but never received a response. (Doc. 290, at 7–8). Although
defendant’s request itself has not been obtained, there is a May 20, 2020 email from
defendant in the record which requests an update on the status of his prior request. (Doc.
291–2). This email supports the conclusion that some earlier request was made. The
government does not argue otherwise. (Doc. 291, at 9–10). Because 30 days have lapsed
since defendant submitted his request to the warden, the Court finds he has fulfilled the
exhaustion requirement of Section 3582(c)(1)(A). See Burnside, 467 F. Supp. 3d at 667.
                2.    Extraordinary and Compelling Reason
         Defendant argues an extraordinary and compelling reason for release is present
because his medical conditions put him at a high risk of severe complications and death
if exposed to COVID-19. (Doc. 290, at 9–16). Defendant cites his obesity, asthma,
hypertension, hyperlipidemia, and hyperthyroidism. (Id., at 12). He tested positive for
COVID-19 in June 2020 but was asymptomatic. (Id., at 13). Fairton FCI currently has
89 active cases of COVID-19 among its inmates and 13 among its staff, with 181 inmates
and 17 staff recorded as recovered.7 No inmates or staff have died of COVID-19 at the
facility. Id.
         The presence of COVID-19 at a defendant’s facility or within the BOP generally
can constitute an extraordinary and compelling reason for compassionate release if the

7
    COVID-19, BOP, https://www.bop.gov/coronavirus/.

                                              9

       Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 9 of 18
defendant is particularly susceptible to COVID-19 due to their age or underlying health
conditions. See Burnside, 467 F. Supp. 3d at 668 (compiling cases). The Centers for
Disease Control and Prevention (“CDC”) recognizes that persons with a body mass index
(“BMI”) in excess of 30 are at increased risk during the pandemic.8 The CDC notes that
moderate to severe asthma and hypertension may increase a person’s risk.                Id.
Hyperlipidemia and hyperthyroidism are not noted by the CDC as being relevant to
COVID-19. Id. Further, the CDC holds that a person’s risk increases with their age. 9
The CDC notes that eight out of ten deaths related to COVID-19 in the United States
have been in persons over age 65 and that persons over 85 are at the greatest risk. Id.
       Defendant is nearly 47 years old. (Doc. 200, at 2). Thus, his age-related risk is
noted but not cause for particular concern given that he is not in or near being in a high-
risk age group.
       Defendant meets the CDC’s risk category for obese persons with a BMI in excess
of 30. His most recent BMI taken on February 5, 2020, was 35. (Doc. 290–1, at 53).
His BMI has been in excess of 30 since as early as 2015. (Id.). Thus, the Court considers
this health condition to be a relevant risk factor in its analysis.
       Defendant also meets two of the CDC’s potential risk categories due to his asthma
and hypertension. Defendant is diagnosed with mild, intermittent asthma, which he
reports is triggered by exercise and dust. (Id., at 14, 65). He is prescribed an inhaler to
prevent or relieve an asthma attack, not for daily use. (Id., at 13). Defendant reported
some shortness of breath at night related to his asthma in February 2020. (Id., at 14).
He has denied having any shortness of breath on multiple other occasions in 2020, as
recently as June 2020. (Id., at 6, 9, 21, 38–41). In April 2020, he expressed concern
about his asthma in relation to COVID-19. (Id., at 9). His respiratory rate is consistently

8
  People with Certain Medical Conditions, CDC, https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/people-with-medical-conditions.html (Dec. 29, 2020).
9
     Older      Adults,     CDC,      https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
precautions/older-adults.html (Dec. 13, 2020).

                                              10

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 10 of 18
normal or slightly elevated, his breathing in within normal limits, his lungs sound clear,
and his air flow is within normal range. (Id., at 2–3, 42–43). Defendant receives
medication for his hypertension. (Id., at 7). His chief complaint to medical staff is often
his hypertension. (Id., at 2, 21). His blood pressure readings from August 2019 to May
2020 show he is consistently in hypertension stages 1 and 2.10 (Id., at 6, 8, 10, 14, 19,
25, 34, 42, 70, 74, 76). Thus, the Court affords defendant’s asthma minimal weight in
its analysis due to its moderate nature and affords his hypertension significant weight due
its consistency and severity.
       Defendant’s other health conditions, although notable, are not considered actual
or potential health conditions relevant to COVID-19.                 Even so, defendant’s
hyperthyroidism is not particularly serious. Although he is diagnosed with this condition,
he reported no symptoms despite not taking his medication. (Id., at 14). His hormones
are reported as being only “borderline elevated” and he was noted as “asymptomatic.”
(Id., at 17). Despite his diagnosis of hyperlipidemia, he has not been recommended for
statin therapy and, instead, has only been advised of lifestyle modifications to lower his
cholesterol. (Id., at 17). Defendant also noted on multiple occasions that he was not
taking his hyperlipidemia medication. (Id., at 17, 36). Thus, these conditions appear to
be relatively minor and the Court affords them little weight.
       In sum, defendant’s only condition which is known to increase his risk to COVID-
19 is his obesity, which appears to be well-managed. Nothing in the record indicates
defendant is in deteriorating or debilitated health due to his obesity, or that it even hinders
him. Indeed, he is a Care Level 2 inmate who requires chronic care but is not inhibited


10
  Blood pressure of less than 120/80 mm Hg is considered within normal range. Elevated blood
pressure occurs when readings consistently show 120–129 systolic and less than 80 diastolic.
Hypertension Stage 1 occurs when readings consistently show 130–139 systolic or 80–89
diastolic. Hypertension Stage 2 occurs when readings consistently show 140/99 or higher.
Hypertensive crisis, which requires immediate medical attention, is when readings suddenly
exceed 180/120. Understanding Blood Pressure Readings, American Heart Association, https:-
//www.heart.org/en/health-topics/high-blood-pressure/understanding-blood-pressure-readings.

                                              11

     Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 11 of 18
by his medical conditions in his day-to-day activities. (Doc. 290–2, at 7). Thus, although
his weight is significant, it is not particularly problematic. His moderate asthma and
significant hypertension may also increase his risk to some degree. On balance, however,
defendant is at only a marginally elevated risk of severe complications if exposed to
COVID-19.
       Notably, during his actual bout of COVID-19 in June 2020, defendant was
asymptomatic, able to isolate, and had access to medical care. (Id., at 1); (Doc. 291–1,
at 1–2). “This Court and other courts have denied compassionate release when the
defendant had only an asymptomatic or minor case of COVID-19 with no indication that
the defendant’s health will deteriorate in the future.” United States v. Sampson, No. 8-
CR-2026-CJW-MAR, 2020 WL 4207555, at *4 (N.D. Iowa July 22, 2020) (compiling
cases). Thus, even if defendant had health conditions which substantially increased his
risk during the pandemic, the fact that defendant contracted and recovered from COVID-
19 without significant issue would weigh against a finding that extraordinary and
compelling reasons exist for release.
       Thus, the Court finds defendant has not presented an extraordinary and compelling
reason for release and denies his motion for compassionate release on this basis. In the
alternative, the Court will independently discuss the Section 3553(a) factors as if
defendant had presented an extraordinary and compelling reason for release.
              3.     Section 3553(a) Factors
       Defendant argues the Section 3553(a) factors favor release. (Doc. 290, at 19–24).
Guideline Section 1B1.13(2) provides compassionate release is appropriate only when
“the defendant is not a danger to the safety of any other person or to the community, as
provided in 18 U.S.C. § 3142(g)[.]” Section 3582(c)(1)(A) requires a court to consider
the factors set forth in Title 18, United States Code, Section 3553(a) before granting
compassionate release. Section 3553(a) requires the Court to consider: (1) “the nature
and circumstances of the offense and the history and characteristics of the defendant;”
(2) the need for the sentence to reflect the seriousness of the offense, promote respect for
                                            12

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 12 of 18
the law, provide just punishment, and provide rehabilitative opportunities and care to the
defendant; (3) the kinds of sentences available; (4) the sentencing range as set by the
USSG; (5) any pertinent policy by the United States Sentencing Commission; (6) the need
to avoid unwarranted sentencing disparities among similarly situated defendants; and
(7) the need for restitution to any victims.
       Defendant’s offense is not particularly aggravating. He was observed selling a
small amount of cocaine near a school, but there is no indication he was targeting the
school in any way. Months later, he was pulled over and found to be under the influence.
A search of his car recovered two small baggies of cocaine. Defendant also had a small
amount of cash comprised of smaller bills. The instant offense is his first and only drug-
related offense. His sentence here was driven far more by his violent, recidivist criminal
history. As a young man, defendant was out of control by any measure. His criminal
record is replete with assaults, property damage, and a total disregard for the law and the
safety of others.
       That said, his upbringing helps explain his prior violent conduct. His father was
incarcerated for sexually abusing his sisters. Despite his mother’s efforts, his home was
extremely dysfunctional, impoverished, abusive, unstable, and dangerous. Defendant
was ultimately removed from his mother’s care and placed in various foster homes. He
was sexually abused on multiple occasions. Defendant’s mental health examinations
show his aggression arose out, in part, from various mental disorders such as depression
and anxiety. One report also concluded defendant had brain damage which may be related
to his conduct.     At least one examination attributed his behavioral issues to his
upbringing. Despite the instability in his life, he managed to earn the equivalent of a
high school diploma as well as a training certification. Although defendant’s prior term
of incarceration of approximately five years did not wholly deter his criminal conduct,
mental health records show his mood improved and his convictions following his release
were less frequent and less violent. Defendant also maintained employment after being
released.
                                               13

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 13 of 18
      His violence and behavioral issues, however, continued for several years into his
instant term of incarceration. From 2004 to 2012, defendant was disciplined for fighting
with another inmate, assault causing serious injury, possessing multiple gallons of bootleg
alcohol three times, possessing a knife, exposing his penis to staff twice, verbally
disrespecting an educator, assault by punching, refusing to obey an order, and burning a
milk carton in his cell. (Doc. 290–2, at 1–4). In 2017, defendant was disciplined for
refusing to obey an order. (Id., at 1). In 2019, defendant was disciplined for possession
of a hazardous tool. (Id.). Defendant has not had any disciplinary violations within the
last year and only two minor violations in the past eight years. (Id., at 1–4). Defendant
formally completed his GED in 2001 and has since taken a handful of classes. (Id., at
5). Since 2019, he has worked as a cook. (Id.).
      Today, defendant’s violent criminal convictions are nearly 20 years behind him.
His significant disciplinary violations are eight years behind him. Defendant has been
incarcerated for more than 19 years on a fairly minor, first-time drug offense and has
approximately only a year and a half of his sentence remaining. Notably, if he were
sentenced today, he would not be considered a career offender because his prior offense
would not qualify as a crime of violence under the now-deleted residual clause of USSG
§4B1.2. Defendant also has a stable release plan. Defendant intends to reside with his
wife. (Doc. 290–2, at 9). He apparently no longer desires a divorce as he did in 2001.
In his pro se motion, he expressed his intent to pursue employment as a cook if released.
(Doc. 284, at 3).
      The record shows defendant’s pattern of violence and criminal behavior has
subsided. The term of imprisonment he has already served has sufficiently reflected the
seriousness of the offense, promoted respect for the law, and provided just punishment.
Defendant’s behavior over the past eight years shows he has been adequately deterred
and is far less a danger to the community now than he was when he was a young man, if
he presents any significant danger at all. His remaining term of six years on supervised


                                            14

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 14 of 18
release will provide further deterrence and a means of punishment should defendant
return to criminal activity.
       Thus, the Court finds, on balance, that the 3553(a) factors would warrant release.
Because defendant has not identified an extraordinary and compelling reason, however,
compassionate release is inappropriate.          It is important to understand that the
compassionate release provisions are not a license for judges to act as one-person parole
boards, or for new judges to resentence offenders based on their views of appropriate
sentences. Rather, the compassionate release provisions require first and foremost a
showing of an extraordinary and compelling reason for compassionate release. Here,
defendant has premised that motion on his health conditions in light of the COVID-19
pandemic and the Court has found he has failed to state a claim for that reason.
       In light of these findings, defendant’s motion for compassionate release is denied.
The Court will next examine whether a reduction is appropriate under the FSA.
                                IV.    FIRST STEP ACT
       A.     Applicable Law
       Congress enacted the FSA on December 21, 2018. The statute was part of a
compressive criminal justice reform package and makes numerous changes to the criminal
code, including reducing some mandatory minimum sentences, changing other sentencing
ranges, and changing how compassionate release motions are filed. Section 404, the only
portion of the FSA that is retroactive, provides that a court may “impose a reduced
sentence as if sections 2 and 3 of the Fair Sentencing Act of 2010 were in effect at the
time the covered offense was committed.”             Id. § 404(b); see also 18 U.S.C.
§ 3582(c)(1)(B). The FSA defines a “covered offense” as any crime which had its
penalties modified by Sections 2 or 3 of the Fair Sentencing Act of 2010. Id. § 404(a).
Section 2 of the Fair Sentencing Act modified the statutory penalties for certain violations
of Title 21, United States Code, Section 841(b) related to cocaine, effectively reducing
the penalty applicable to a qualifying defendant. See United States v. McDonald, 944
F.3d 769, 771 (8th Cir. 2019). District courts have broad discretion in determining
                                            15

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 15 of 18
whether to reduce a defendant’s sentence on a covered offense under the FSA. See, e.g.,
United States v. Williams, 943 F.3d 841, 844 (8th Cir. 2019).
          B.    Analysis
          The parties dispute whether defendant is eligible for a sentence reduction under
the FSA and whether the Court should exercise its discretion to grant such a reduction.
In light of the Court’s 3553(a) analysis above, the Court would exercise its discretion to
reduce defendant’s sentence to time served if he is eligible under the FSA.
          Defendant was convicted under Title 21, United States Code, Section
841(b)(1)(C).      (Doc. 200, at 3).      The Eighth Circuit has not addressed whether
convictions under Section 841(b)(1)(C) are eligible for a sentence reduction under the
FSA. Other circuits addressing this issue have reached differing conclusions. Compare
United States v. Woodson, 962 F.3d 812, 817 (4th Cir. 2020) (eligible), and United States
v. Smith, 954 F.3d 446, 450 (1st Cir. 2020) (eligible), with United States v. Jones, 962
F.3d 1290, 1305 (11th Cir. 2020) (ineligible).
          In United States v. Smith, the First Circuit Court of Appeals held that “the phrase
‘Federal criminal statute’ in the [FSA]” referred to Section 841(a) generally and not the
individual penalty provisions in Sections 841(b)(1)(A)–(C). 954 F.3d at 450. The court
stated:
          The relevant statute . . . violated is either § 841 as a whole, or § 841(a),
          which describes all the conduct necessary to violate § 841. Section
          841(b)(1), in turn, sets forth how the penalties for that conduct vary based
          on drug quantity. . .. The fact that the Constitution’s procedural
          requirements mandate that the drug quantity be found by the jury to enhance
          the minimum penalty does not mean that a convicted defendant did not
          commit the violation identified by § 841.

Id.; see also United States v. Dean, No. 97-276 (3) (MJD), 2020 WL 2526476, at *3 (D.
Minn. May 18, 2020) (following Smith). In the alternative, the Smith court found that
Section 841(b)(1)(C) was also eligible for a reduction individually:
          The government argues that Smith was convicted under § 841(b)(1)(C) for
          distributing a small (or indeterminate) quantity of a controlled substance.
                                              16

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 16 of 18
      Thus, in the government’s view § 841(b)(1)(C) is the “Federal criminal
      statute” in question, and since the Fair Sentencing Act did not literally
      change the text of § 841(b)(1)(C), the statutory penalties for that subsection
      were not “modified.” But § 841(b)(1)(C) applies to any “case of a
      controlled substance . . . except as provided in subparagraphs (A), (B), and
      (D).” 21 U.S.C. § 841(b)(1)(C). Since § 841(b)(1)(C) is defined in part
      by what § 841(b)(1)(A) and § 841(b)(1)(B) do not cover, a modification to
      the latter subsections also modifies the former by incorporation. In effect,
      § 841(b)(1)(C) set forth the penalties for quantities between zero and five
      grams of crack cocaine prior to the Fair Sentencing Act, and between zero
      and twenty-eight grams after. This is a modification. The fact that the
      prescribed sentencing range (zero to twenty years) under § 841(b)(1)(C) did
      not change is immaterial—the Fair Sentencing Act did not change the
      mandatory minimum or maximum for violations of § 841(b)(1)(A) or §
      841(b)(1)(B), either, only the threshold quantities.

954 F.3d at 450; see also Woodson, 962 F.3d at 814 (“[W]e hold that when the Fair
Sentencing Act changed the quantities of crack cocaine to which Subsection 841(b)(1)(C)
applies, it ‘modified’ the statutory penalties of that subsection for purposes of crack
cocaine offenders within the meaning of the [FSA].”).
      The government argues defendant is ineligible because the FSA did not reduce the
statutory penalties for the specific quantity of drugs for which defendant was convicted.
(Doc. 291, at 19). See United States v. Banks, 960 F.3d 982, 984 (8th Cir. 2020)
(“Because the statute of conviction in Banks’s case required only proof that he conspired
to distribute 50 grams or more of cocaine base, and the Fair Sentencing Act reduced the
penalties for a 50-gram conspiracy, he is eligible for a reduction.”); see also § 404(c)
(“No court shall entertain a motion made under this section to reduce a sentence if the
sentence was previously imposed or previously reduced in accordance with the
amendments made by sections 2 and 3 of the Fair Sentencing Act of 2010.”). In other
words, “[a]ny reduction the district court would grant would not be ‘as if’ the Fair
Sentencing Act had been in effect. That is, the [FSA] does not permit a reduction when
the Fair Sentencing Act could not have benefitted the movant.” Jones, 962 F.3d at 1303.



                                           17

    Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 17 of 18
       The Court finds that defendant is ineligible for a reduction under the FSA. Even
if defendant’s offense technically qualifies as a ‘covered offense’ because there were
general modifications to the statute, the applicable penalties were not modified. Thus,
even if the Court were to examine defendant’s offense “as if sections 2 and 3 of the Fair
Sentencing Act of 2020 were in effect,” the result would not be changed. To hold
otherwise would simply allow a court to resentence a defendant under the Section 3553(a)
factors when some modification to their statute of conviction occurred, even if the
modification would not actually have impacted the sentence. Thus, although the Court
finds that a sentence reduction would be appropriate under Section 3553(a), the Court
finds it lacks the authority to grant a reduction under the FSA. Holding otherwise would
impermissibly broaden this Court’s authority under the FSA.
                                    V.     CONCLUSION
       For these reasons, defendant’s motion for compassionate release or relief under
Section 404 of the FSA (Doc. 289) is denied.11 Defendant must serve the remainder of
his term of incarceration as previously directed. (Doc. 212).
       IT IS SO ORDERED this 25th day of January, 2021.



                                            _________________________
                                            C.J. Williams
                                            United States District Judge
                                            Northern District of Iowa




11
  In light of the above analysis, defendant’s other motions for the same relief (Docs. 284 & 279)
are denied for the same reasons.

                                               18

     Case 6:01-cr-02002-CJW-MAR Document 294 Filed 01/25/21 Page 18 of 18
